IN THE SUPREME COURT OF TEXAS


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                                 No. 06-0031
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                   In Re  Baylor Medical Center At Garland


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                      On Petition for Writ of Mandamus
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      ORDER

      1.    This motion for temporary relief in  conjunction  with  petition
for writ of mandamus, filed on January 18, 2006, is granted.  This  case  is
ABATED pursuant to Texas Rule of Appellate Procedure 7.2.
      2.    This case is removed from the Court's active  docket  and  shall
be treated as  closed,  subject  to  reinstatement  upon  proper  motion  or
further order of the Court.
      3.    All trial court  proceedings  in  Cause  No.  03-9170-H,  styled
Steve and Tammy Williams v. Baylor Medical Center at Garland, in  the  160th
District Court of Dallas County, Texas, are stayed pending further order  of
this Court.
      4.    The Court requests that  relators  notify  the  Court  when  the
successor judge has ruled  in  accordance  with  Texas  Rules  of  Appellate
Procedure 7.2(b).

      Done at the City of Austin, this 27th day of January, 2006.

                                       [pic]
                                       Andrew Weber, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




